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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________________X
                                                     )
HELEN MEIMARIS AS EXECUTRIX and LEGAL                )
REPRESENTATIVE OF THE ESTATE OF ALKIVIADES           )
MEIMARIS AND HELEN MEIMARIS,                         )            1:18-cv-4363 (GBD)
                       Plaintiﬀs,                    )
                                                     )            NOTICE OF VOLUNTARY
                                                     )            DISMISSAL PURSUANT TO
                                                     )            F.R.C.P. 41(a)(1)(A)(i)
                                                     )
                                                     )
               -against-                             )
                                                     )
                                                     )
                                                     )
JOSEPH E. ROYCE, LAWRENCE A. BLATTE,                 )
TULIO PRIETO , JAIME LEROUX,                         )
TBS Shipping Services Inc., Guardian Navigation ,    )
Services Inc., Gruposedei and Tecnisea,              )
                         Defendants.                 )
____________________________________________________ X


           NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

      Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiﬀs

      Helen Meimaris as Executrix and Legal Representative of the Estate of Alkiviades

      Meimaris and Helen Meimaris and/or their counsel, hereby give notice that the above-

      captioned action is voluntarily dismissed, without prejudice against Defendants Jaime

      Leroux, Grupo Sedei and Tecnisea.



      Date: May 8, 2019

                                                                 /s/ Alkistis G. Meimaris_____
                                                                 Signature of Plaintiﬀs’ counsel

                                                                240 Fifth Avenue____________
                                                                Address

                                                                New York, New York 10001
                                                                City, State & Zip Code

                                                                (201) 615-3220_____________
                                                                Telephone Number
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